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  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13
       IN RE: NATIONAL FOOTBALL              Case No. 2:15-ml-02668-PSG (JEMx)
  14   LEAGUE’S “SUNDAY TICKET”
       ANTITRUST LITIGATION                  DISCOVERY MATTER
  15
       THIS DOCUMENT RELATES TO              APPLE INC.’S SUPPLEMENTAL
  16   ALL ACTIONS                           MEMORANDUM IN OPPOSITION
                                             TO PLAINTIFFS’ MOTION TO
  17                                         COMPEL PRODUCTION OF
                                             DOCUMENTS BY APPLE INC.
  18
                                             Magistrate Judge: Hon. John E.
  19                                         McDermott
                                             Date/Time: 6/21/2022, 10:00 a.m.
  20                                         Discovery Cutoff Date: 8/5/2022
                                             Pretrial-Conference Date: 2/9/2024
  21                                         Trial Date: 2/22/2024
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   1         Pursuant to Civil Local Rule 37-2.3, Apple Inc. respectfully submits the
   2   following Supplemental Memorandum in Opposition to Plaintiffs’ Motion to
   3   Compel to inform this Court of the status of discovery matters that have transpired
   4   since Plaintiffs filed the Joint Stipulation to Compel Production of Documents by
   5   Apple on May 31, 2022 (Dkt. No. 486, “Motion to Compel”).
   6         That same day, Apple Inc. filed a Motion to Quash Plaintiffs’ Subpoena in
   7   the United States District Court for the Northern District of California as the proper
   8   court to address the subpoena pursuant to Federal Rule of Civil Procedure 45(f).
   9   See In re National Football League’s “Sunday Ticket” Litig., Case No. 3:22-mc-
  10   80140-DMR, Dkt. No. 1 (“Motion to Quash”). On Tuesday, June 7, 2022, Apple
  11   filed an Administrative Motion to Expedite the Motion to Quash, requesting that
  12   any hearing thereon be set on or before June 21, 2022.1 See id. Dkt. No. 7. At this
  13   time, the Administrative Motion to Expedite is pending. Apple thus reiterates its
  14   position that this Court should, at a minimum, decline to consider Plaintiffs’ Motion
  15   to Compel unless the Northern District of California court assigned to Apple’s
  16   Motion to Quash finds that Plaintiffs have made the requisite showing that
  17   “exceptional circumstances” exist that outweigh the interests of Apple in having the
  18   subpoena resolved locally.
  19         Moreover, despite the Motion to Compel pending before this Court and the
  20   Motion to Quash pending in the Northern District of California, Plaintiffs’
  21   harassment of non-party Apple continues. On June 3, 2022, Plaintiffs sent Apple
  22   another meet and confer letter pursuant to Local Rule 37-1 demanding that Apple
  23   meet and confer with Plaintiffs regarding the propriety of redactions to documents
  24   produced by Apple. (Declaration of Bethany Stevens (“Stevens Decl.”) at ¶ 2, Ex.
  25   A.) This was already raised in the Motion to Compel. (See Dkt. Nos. 491 at 23, n. 7
  26   and 491-8 at ¶ 11.) Moreover, Apple’s redactions are proper. As discussed in the
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             In the alternative, Apple requested its Motion to Quash be set for hearing on
       the N.D. Cal. court’s regular June 23, 2022 civil motion hearing date.
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   1   Motion to Compel, Apple redacted certain information in an attempt to avoid
   2   motion practice. (See id.) Despite undertaking this onerous review and redactions,
   3   Plaintiffs continue to demand documents and information to which they are not
   4   entitled. Plaintiffs’ apparent intention to engage in sequential motion practice
   5   against non-party Apple regarding issues that wholly overlap with those now
   6   pending before two courts — that is, the sufficiency of Apple’s objection to the
   7   production of the redacted information, and the insufficiency of the Protective
   8   Order in the underlying litigation to address Apple’s objections — exacerbates the
   9   already undue burden and expense being imposed on a non-party by Plaintiffs, and
  10   would further drain judicial resources.
  11         For the reasons stated in the Motion to Compel, and for the additional
  12   reasons set forth above, the Court should refuse Plaintiffs’ escalating and improper
  13   demands of non-party Apple and deny the Motion to Compel.
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          Dated: June 7, 2022                    Respectfully submitted,
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  16                                             WALKER STEVENS CANNOM LLP
  17                                                   /s/ Bethany Stevens
                                                        Bethany Stevens
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                                                 Attorneys for Non-Party Apple Inc.
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